












Dismissed and Memorandum Opinion filed December 31,
2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00929-CV

____________

&nbsp;

FRANCISCO GONZALEZ LOPEZ, Appellant

&nbsp;

V.

&nbsp;

GIL RAMIREZ, SR., Appellee

&nbsp;



&nbsp;

On Appeal from the
80th District Court

Harris County,
Texas

Trial Court Cause
No. 2007-74672B

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed September 11, 2009.&nbsp; On December 8, 2009,
appellant filed a motion to dismiss the appeal because the case has settled.&nbsp;&nbsp; See
Tex. R. App. P. 42.1.&nbsp; The motion
is granted.

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

Panel consists of Justices Yates,
Seymore, and Brown. 





